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 7                    IN THE UNITED STATES DISTRICT COURT FOR THE
 8                             EASTERN DISTRICT OF CALIFORNIA
 9
10      UNITED STATES OF AMERICA,           )               NO. 1:09-CR-00347-AWI
                                            )               NEW CASE NUMBER
11                        Plaintiff,        )
                                            )               NO. 1:09-CR-00347-LJO
12            v.                            )               OLD CASE NUMBER
                                            )
13      YSIDRO MORENO LOPEZ, and            )
        JOSE ANTONIO MORENO LOPEZ,          )
14                                          )
                          Defendants.       )
15      ____________________________________)
16
17          The court finds that the above-captioned action is similar to United States of America v.
18   Ernesto Garcia Gonzalez, Case No. 1:09-CR-00155-AWI, and United States of America v.
19   Antonio Pantoja Ahumada, Case No. 1:09-CR-00156-AWI, in that all cases appear to involve
20   similar questions of fact and law and assignment to the same judge is likely to effect a substantial
21   savings of judicial effort. See Local Rule 83-123. Therefore, IT IS HEREBY ORDERED
22   THAT the above-captioned action, being the higher numbered case, is reassigned to the same
23   judge as the lower numbered cases. IT IS FURTHER ORDERED THAT all future pleadings
24   filed in the above-captioned action shall include the new case number 1:09-CR-00347-AWI.
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26   IT IS SO ORDERED.
27   Dated:     September 21, 2009                     /s/ Anthony W. Ishii
     0m8i78                                   CHIEF UNITED STATES DISTRICT JUDGE
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